 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 1 of 62 PageID #:1561




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION



UNITED STATES OF AMERICA                   )   09 CR 383-5,9
                                           )
                  v.                       )   Chief Judge Ruben Castillo
                                           )
ALFREDO VASQUEZ HERNANDEZ,                 )
  a/k/a AAlfredo Compadre,@and             )
TOMAS AREVALO RENTERIA                     )
                                           )

    GOVERNMENT=S EVIDENTIARY PROFFER SUPPORTING THE
       ADMISSIBILITY OF CO-CONSPIRATOR STATEMENTS




                                       i
      Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 2 of 62 PageID #:1562




                                          TABLE OF CONTENTS

I.        INTRODUCTION ............................................................................................... 1

II.       OVERVIEW OF THE CONSPIRACY ................................................................ 2

III.      GOVERNING LAW............................................................................................. 4

          A.       The Evidentiary Rule is Distinct from the Charged Conspiracy ........... 4
          B.       Existence of and Membership in the Conspiracy .................................... 5
          C.       The AIn Furtherance@ Requirement ......................................................... 9
          D.       Alternative Bases for Admissibility of Statements ............................... 12

IV.       THE GOVERNMENT=S PROFFER REGARDING THE EXISTENCE
          OF THE CONSPIRACY AND DEFENDANTS= PARTICIPATION IN IT ..... 13

          A.       The SINALOA CARTEL ........................................................................ 14
          B.       Structure and Differentiation of Roles .................................................. 16

                   1.       Jesus Vicente Zambada-Niebla ................................................. 17
                   2.       Alfredo Guzman-Salazar ............................................................. 18
                   3.       Alfredo Vasquez-Hernandez........................................................ 18
                   4.       Juan Guzman-Rocha ................................................................... 19
                   5.       German Olivares.......................................................................... 19
                   6.       Felipe Cabrera Sarabia ............................................................... 20
                   7.       Manuel Fernandez-Navaroo........................................................ 20
                   8.       Tomas Arevalo-Renteria.............................................................. 20
                   9.       Pedro Flores and Margarito Flores ........................................... 120

          C.       History of the Investigation ................................................................... 21
          D.       The Evidence Establishing the Existence of the Conspiracy ............... 22

V.        STATEMENT OF FACTS/EVIDENTIARY SUPPORT OF
          THE CHARGED CONSPIRACIES .................................................................. 55

VI.       CONCLUSION .................................................................................................. 59




                                                            ii
     Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 3 of 62 PageID #:1563




         The UNITED STATES OF AMERICA, by its attorney, ZACHARY T.

FARDON, United States Attorney for the Northern District of Illinois, respectfully

submits this written proffer, pursuant to Fed. R. Evid. 801(d)(2)(E), and United

States v. Santiago, 582 F.2d 1128 (7th Cir. 1987), of the government=s evidence

supporting the admission of certain co-conspirator statements against defendants at

trial.

I.       INTRODUCTION

         This submission begins by providing an overview of the conspiracy in this

case.     It then discusses the law governing the admissibility of coconspirator

statements under Fed.R.Evid. 801(d)(2)(D), and outlines some of its evidence

establishing the conspiracy.      Finally, it summarizes evidence supporting the

admission of coconspirators= statements pursuant to Rule 801(d)(2) and for which a

pre-trial ruling by the Court is requested, in accord with United States v. Santiago,

582 F.2d 1128, 1130-31 (7th Cir. 1978), and established practice in this Circuit. See

United States v. Alviar, 573 F.3d 526, 540 (7th Cir. 2009); United States v. Harris,

585 F.3d 394, 398, 400 (7th Cir. 2009).

         This proffer does not list all of the government=s witnesses and the evidence

each will present, nor does it provide all of the evidence that will be presented by

those witnesses who are named.      Rather, the proffer is a summary only, offered for

the limited purpose of establishing the existence of a conspiracy by a preponderance

of the evidence and providing defendants with adequate notice of the nature of the

conspiratorial evidence, including the nature of co-conspirator statements made in

                                           1
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 4 of 62 PageID #:1564




furtherance of the conspiracy that the government will offer at trial.   By presenting

statements attributed to particular witnesses, the government is not committing to

call each of the witnesses, nor is the government committing to introduce each

statement contained herein.    The government expressly reserves the right to offer

additional statements of indicted and unindicted co-conspirators.      The government

further reserves the right to supplement this proffer in the event that additional

evidence of the conspiracy comes to light in advance of trial.

II.   OVERVIEW OF THE CONSPIRACY

      The third superseding indictment charges that from about May 2005 to about

December     2008,    defendants    Alfredo    Vasquez      Hernandez     and   Tomas

Arevalo-Renteria conspired with other members of the Sinaloa Cartel to possess

with intent to distribute and to distribute five kilograms or more of cocaine and one

kilogram or more of heroin (Count One); and conspired to import into the United

States from Mexico more than five kilograms of cocaine and more than one kilogram

of heroin (Count Two). Arevalo-Renteria is further charged with knowingly and

intentionally distributing heroin (Counts Three and Six).

      The indictment alleges that Vasquez Hernandez was a high-level member of

the Sinaloa Cartel, a cocaine and heroin drug trafficking organization in Mexico.

R.157 at 2, 6-7. The indictment further alleges that, among other things, Vasquez

Hernandez acted as a logistical coordinator for a faction of the Sinaloa Cartel headed

by Joaquin Guzman Loera (a/k/a “Chapo Guzman”).          Id.     The indictment alleges

that Vasquez Hernandez coordinated the importation to Mexico from Central and

                                           2
     Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 5 of 62 PageID #:1565




South American countries of multi-ton quantities of cocaine, and deliveries of

multi-kilogram quantities of cocaine into the United States on behalf of Joaquin

Guzman Loera and the Guzman Loera faction of the Sinaloa Cartel, as well as

deliveries of bulk quantities of United States currency to Joaquin Guzman Loera

and the Guzman-Loera faction from its customers in the United States.       Id. at 3-4,

6-7.

         The indictment alleges that Arevalo-Renteria (i) worked with the Sinaloa

Cartel; (ii) acted as a narcotics broker and customer for factions of the Cartel headed

by Guzman-Loera and Ismael Zambada-Garcia; and (iii) coordinated deliveries of

multi-kilogram quantities of cocaine and heroin into the United States and

deliveries of United States currency back into Mexico to the Sinaloa Cartel. Id. at

8.

         The scope of the conspiracy thus includes both the Guzman-Loera and

Zambada-Garcia factions of the Sinaloa Cartel, and includes the supply of drugs to

the Cartel by international suppliers, the coordination of large shipments over and

throughout international borders, the transportation and distribution of the drugs,

the financial transactions related to the shipments, and the efforts to protect the

Cartel=s interests in international drug trafficking through violent and other means.

The members of the conspiracy, and the declarants of co-conspirator statements, are

identified below.




                                           3
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 6 of 62 PageID #:1566




III.     GOVERNING LAW

         Rule 801(d)(2)(E) provides that a Astatement@ is not hearsay if it Ais offered

against a party@ and is Aa statement by a coconspirator of a party during the course

and in furtherance of the conspiracy.@          Admission of such coconspirator statements

against a defendant is proper where the government establishes by a preponderance

of the evidence that: (1) a conspiracy [or joint venture] existed; (2) defendant and the

declarant were members of the conspiracy [or joint venture]; and (3) the statements

were made during the course and in furtherance of the conspiracy [or joint venture].

United States v. Cruz-Rea, 626 F.3d 929, 937 (7th Cir. 2010). 1

         A.    The Evidentiary Rule is Distinct from the Charged Conspiracy.

         Rule 801(d)(2)(E) is an evidentiary rule that is separate from the substantive

law of criminal conspiracy.         The rule applies, and co-conspirator statements are

admissible, whenever a statement is made in furtherance of a joint venture,

regardless of whether that joint venture has been charged as a criminal conspiracy.

As the Seventh Circuit explained in United States v. Coe, 718 F.2d 830 (7th Cir.

1983):

         Conspiracy as an evidentiary rule differs from conspiracy as a crime.
         The crime of conspiracy comprehends much more than just a joint

        1 No Sixth Amendment confrontation issues are posed at a joint trial by the use of a

non-testifying defendant coconspirator=s statements which are offered for their truth against another
defendant. This is because Athe requirements for admission under Rule 801(d)(2)(E) are identical to
the requirements of the Confrontation Clause.@ United States v. Bourjaily, 483 U.S. 171, 182 (1987).
Thus, there are no Aconstitutional problems@ once Rule 801(d)(2)(E)'s requirements have been met.
Id.     This long-standing rule was not affected by the Supreme Court=s decision in Crawford v.
Washington, 541 U.S. 36 (2004). See United States v. Hargrove, 508 F.3d 445 (7th Cir. 2007); United
States v. Jenkins, 419 F.3d 614, 618 (7th Cir. 2005).


                                                 4
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 7 of 62 PageID #:1567




      venture or concerted action, whereas the evidentiary rule of conspiracy
      is founded on concepts of agency law. . . . Recognizing this, some
      courts refer to the coconspirator exception as the Ajoint venture@ or
      Aconcert of action@ exception. . . . A charge of criminal conspiracy is
      not a prerequisite for the invocation of this evidentiary rule. . . .
      Indeed, it may be invoked in civil as well as criminal cases. ...

      The proposition that the government did have to establish by a
      preponderance of independent evidence was that [the individuals] . . .
      were engaged in a joint venture--that there was a Acombination
      between them . . . .@

Coe, 718 F.2d at 835 (citations omitted).       Therefore, statements may be admitted

under Rule 801(d)(2)(E) notwithstanding the lack of any formal conspiracy charge.

See, e.g., United States v. Godinez, 110 F.3d 448, 454 (7th Cir. 1997); Santiago, 582

F.2d at 1130.

      Moreover, the Seventh Circuit has held that co-conspirator statements need

not be made within the period of the charged conspiracy in order for them to be

admissible pursuant to Rule 801(d)(2)(E).          Godinez, 110 F.3d at 454 (AIt is

irrelevant that the statement was not made within the time frame charged in the

indictment.@).   A declarant=s statements may be admitted against the defendants at

trial if in furtherance of any Aexisting conspiracy,@ and the Rule does not limit

admissibility to the dates of the charged conspiracy.    Godinez, 110 F.3d at 454.

      B.     Existence of and Membership in the Conspiracy

      Under Santiago, the trial judge must preliminarily determine whether

statements by a co-conspirator of the defendant will be admissible at trial under

Federal Rule of Evidence 801(d)(2)(E). In making this determination the judge must

decide Aif it is more likely than not that the declarant and the defendant were

                                            5
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 8 of 62 PageID #:1568




members of a conspiracy when the hearsay statement was made, and that the

statement was in furtherance of the conspiracy . . . .@ Id. at 1143 (quoting United

States v. Petrozziello, 548 F.2d 20, 23 (1st Cir. 1977)); see also United States v.

Hoover, 246 F.3d 1054, 1060 (7th Cir. 2001). If the trial judge determines the

statements are admissible, the jury may consider them as it considers all other

evidence. See also United States v. Cox, 923 F.2d 519, 526 (7th Cir. 1991); United

States v. Wesson, 33 F.3d 788, 796 (7th Cir. 1994).

      According to Bourjaily v. United States, 483 U.S. 171, 176-81 (1987), the court

can consider the statements in question (the statements seeking to be admitted) to

determine whether the Santiago criteria have been met. Seventh Circuit cases

construing Bourjaily have held that properly admitted hearsay, including

statements admitted under the co-conspirator exception to the hearsay rule (Federal

Rule of Evidence 801(d)(2)(E)), may be used to prove what another person did or said

that may demonstrate their membership in the conspiracy. United States v.

Loscalzo, 18 F.3d 374, 383 (7th Cir. 1994) (A[W]hile only the defendant=s acts or

statements could be used to prove that defendant=s membership in a conspiracy,

evidence of the defendant=s acts or statements may be provided by the statements of

co-conspirators.@); United States v. Martinez de Ortiz, 907 F.2d 629, 633 (7th Cir.

1990) (en banc).

      While the Court may consider the proffered statements themselves as

evidence of both the existence of a conspiracy and a defendant=s participation in it,

Bourjaily, 483 U.S. at 178, 180, United States v. Harris, 585 F.3d 394, 398-99 (7th

                                          6
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 9 of 62 PageID #:1569




Cir. 2009), the contents of the proffered statements alone are not sufficient to

establish the existence of a conspiracy and a defendant=s participation.    There must

also be some supporting evidence or facts corroborating the existence of the

conspiracy and defendant=s participation. Harris, 585 F.3d at 398-99.

      The evidence showing the existence of a conspiracy and a defendant=s

membership in it may be either direct or circumstantial.         See United States v.

Johnson, 592 F.3d 749, 754-55 (7th Cir. 2010); United States v. Irorere, 228 F.3d 816,

823 (7th Cir. 2000). Indeed, A[b]ecause of the secretive character of conspiracies,

direct evidence is elusive, and hence the existence and the defendants= participation

can usually be established only by circumstantial evidence.@ United States v.

Redwine, 715 F.2d 315, 319 (7th Cir. 1983).

      There is no requirement, for admissibility under Rule 801(d)(2)(E), that the

government establish all elements of Aconspiracy@ such as a meeting of the minds

and an overt act.   Coe, 718 F.2d at 835; United States v. Gil, 604 F.2d 546, 548-50

(7th Cir. 1979).    A[I]t makes no difference whether the declarant or any other

>partner in crime= could actually be tried, convicted and punished for the crime of

conspiracy.@   Gil, 604 F.2d at 549-550; see also   Coe, 718 F.2d at 835.

      Certain principles of general conspiracy law are relevant to the Rule

801(d)(2)(E) inquiries to be made as to the existence of a conspiracy or joint venture

and a defendant=s membership in it. For instance, A[a] conspiracy may exist even if a

conspirator does not agree to commit or facilitate each and every part of the

substantive offense.@   Salinas v. United States, 522 U.S. 52, 63-64 (1997).   See also

                                           7
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 10 of 62 PageID #:1570




United States v. Longstreet, 567 F.3d 911, 919 (7th Cir. 2009); United States v. Jones,

275 F.3d 648, 652 (7th Cir. 2001). The government need not prove that a defendant

knew each and every detail of the conspiracy or played more than a minor role in the

conspiracy.    United States v. Curtis, 324 F.3d 501, 506 (7th Cir. 2003). Further, a

defendant joins a criminal conspiracy if he agrees with another person to one or more

of the common objectives of the conspiracy; it is immaterial whether the defendant

knows, has met, or has agreed with every co-conspirator or schemer.         Longstreet,

567 F.3d at 919; United States v. Jones, 275 F.3d 648, 652 (7th Cir. 2001); United

States v. Boucher, 796 F.2d 972, 975 (7th Cir. 1986).

       A defendant (or other declarant) may be found to have participated in a

conspiracy even if he joined or terminated his relationship with other conspirators at

different times than another defendant or coconspirator.       United States v. Noble,

754 F.2d 1324, 1329 (7th Cir. 1985); see also United States v. Handlin, 366 F.3d 584,

590 (7th Cir. 2004)(Ait is irrelevant when the defendant joined the conspiracy so long

as he joined it at some point@).         Under Rule 801(d)(2)(E), a coconspirator=s

statement is admissible against conspirators who join the conspiracy after the

statement is made.      United States v. Sophie, 900 F.2d 1064, 1074 (7th Cir. 1990);

United States v. Potts, 840 F.2d 368, 372 (7th Cir. 1987).      A conspirator who has

become inactive or less active in the conspiracy nevertheless is liable for his

conspirators= further statements unless he openly disavows the conspiracy or reports

it to the police.   See United States v. Feldman, 825 F.2d 124, 129 (7th Cir. 1987).



                                            8
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 11 of 62 PageID #:1571




      The government is not required to prove the identity of the declarant; nor

must the declarant=s identity be confirmed in the statement itself.         See United

States v. Bolivar, 532 F.3d 599, 604-05 (7th Cir. 2008).      Rather, the government

need only prove (from the statement, the context and/or other evidence) that the

declarant was in fact a coconspirator.   Id.

      C.      The AIn Furtherance@ Requirement

      In determining whether a statement was made Ain furtherance@ of the

conspiracy, courts evaluate the statement in the context in which it was made and

look for a reasonable basis upon which to conclude that the statement furthered the

conspiracy.   See Cruz-Rea, 626 F.3d at 937; United States v. Johnson, 200 F.3d 529,

533 (7th Cir. 2000). Under the reasonable basis standard, a statement may be

susceptible to alternative interpretations and still be Ain furtherance@ of the

conspiracy.   Cruz-Rea, 626 F.3d at 937-38.       The Acoconspirator=s statement need

not have been made exclusively, or even primarily, to further the conspiracy@ in

order to be admissible under the coconspirator exception.        Id. at 937 (quotations

and citations omitted).   That statements were made to a government cooperating

witness or undercover agent does not bar admission of statements otherwise Ain

furtherance@ of the conspiracy.    United States v. Mahkimetas, 991 F.2d 379, 383

(7th Cir. 1993); see also United States v. Ayala, 601 F.3d 256, 268 (4th Cir. 2010).

      The Seventh Circuit has found a wide range of statements satisfy the Ain

furtherance@ requirement.    See, e.g., United States v. Cozzo, No. 02 CR 400, 2004

WL 1151630 (N.D. Ill. 2004) (collecting cases).    In general, a statement that is Apart

                                           9
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 12 of 62 PageID #:1572




of the information flow between conspirators intended to help each perform his role@

satisfies the Ain furtherance@ requirement.          United States v. Alviar, 573 F.3d 526,

545 (7th Cir. 2009)(quotations and citations omitted).              See also United States v.

Gajo, 290 F.3d 922, 929 (7th Cir. 2002).         These include statements made:

       (1) to conduct or help to conduct the business of the scheme, United States v.

Cox, 923 F.2d 519, 527 (7th Cir. 1991); see also United States v. Johnson, 200 F.3d

529, 533 (7th Cir. 2000); 2

       (2) to recruit potential coconspirators, Cruz-Rea, 626 F.3d at 937-38; United

States v. Haynes, 582 F.3d 686, 705 (7th Cir. 2009);

       (3) to identify other members of the conspiracy and their roles, Alviar, 573

F.3d at 545;

       (4) to plan or to review a coconspirator's exploits,         United States v. Molt, 772

F.2d 366, 368-69 (7th Cir. 1985);

       (5) as an assurance that a coconspirator can be trusted to perform his role,

Sophie, 900 F.2d 1064, 1073-74 (7th Cir. 1990); see also United States v. Bustamante,

493 F.3d 879, 890-91 (7th Cir. 2007);

       (6) to inform and update others about the current status of the conspiracy or

a conspiracy's progress (including failures), United States v. Rea, 621 F.3d 595, 605

(7th Cir. 2010); Alviar, 573 F.3d at 545;




       2 Statements that prompt the listener to act in a manner that facilitates the carrying out of

the conspiracy are also made Ain furtherance@ of the conspiracy. See United States v. Monus, 128
F.3d 376, 392 (6th Cir. 1997).


                                                10
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 13 of 62 PageID #:1573




         (7) to control damage to an ongoing conspiracy, United States v. Johnson, 200

F.3d 529, 533 (7th Cir. 2000); United States v. Molinaro, 877 F.2d 1341, 1343-44 (7th

Cir. 1989); United States v. Van Daal Wyk, 840 F.2d 494, 499 (7th Cir. 1988);

         (8) to conceal a conspiracy where ongoing concealment is a purpose of the

conspiracy, Gajo, 290 F.3d at 928-29; United States v. Kaden, 819 F.2d 813, 820 (7th

Cir. 1987); see also United States v. Maloney, 71 F.3d 645, 659-60 (7th Cir. 1995);

         (9) to reassure or calm the listener regarding the progress or stability of the

scheme, Sophie, 900 F.2d at 1073; Garlington v. O=Leary, 879 F.2d 277, 284 (7th Cir.

1989);

         (10) to report conspirators= status and in turn receive assurances of assistance

from coconspirators, United States v. Prieto, 549 F.3d 513 (7th Cir. 2008); and

         (11) Adescribing the purpose, method or criminality of the conspiracy,@ United

States v. Ashman, 979 F.2d 469, 489 (7th Cir. 1992).

         Finally, any statement made by a conspirator during and in furtherance of a

conspiracy is admissible against all coconspirators.      United States v. Rivera, 136

Fed. Appx. 925, 926 (7th Cir. 2005)(court admitted into evidence a letter written by a

coconspirator who was not on trial).     AWhether any other coconspirator heard (or, in

this instance, saw) that statement is irrelevant; agency, not knowledge, is the theory

of admissibility.@   Id.

         It also bears mention that Astatements made during the course of and in

furtherance of a conspiracy, even in its embryonic stages, are admissible against

those who arrive late to join a going concern.@ United States v. Potts, 840 F.2d at 372


                                            11
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 14 of 62 PageID #:1574




(citing cases). Moreover, Aconversations made by conspirators to prospective

coconspirators for membership purposes are acts in furtherance of the conspiracy.@

United States v. Shoffner, 826 F.2d at 628 (quoting and citing cases). A conspirator

who has become less active in the conspiracy nevertheless is liable for his

conspirators= further statements unless he openly disavows the conspiracy or reports

it to the police. United States v. Maloney, 71 F.3d 645, 654-55 (7th Cir. 1995) (mere

inactivity on the part of the conspirator is not sufficient to constitute withdrawal).

        D.      Alternative Bases for Admissibility of Statements

        Various statements made during the course of a conspiracy are independently

admissible and do not require a Rule 801(d)(2)(E) analysis.                     A defendant=s own

statements, for example, are admissible against him pursuant to Rule 801(d)(2)(A),

without reference to the coconspirator statement rule. 3 United States v. Maholias,

985 F.2d 869, 877 (7th Cir. 1993). Moreover, a defendant=s own admissions are

powerfully relevant to establish the factual predicates for the admission of

coconspirator statements against him. United States v. Godinez, 110 F.3d 448, 455

(7th Cir. 1997).

        The coconspirator statement rule is also not implicated where the relevant

verbal declaration is not a Astatement@ within the meaning of Rule 801(a), that is,

not an Aassertion@ subject to verification; an example would be an order or a

suggestion.     See United States v. Tuchow, 768 F.2d 855, 868 n.18 (7th Cir. 1985).

       3 Rule 801(d)(2)(A) provides in pertinent part that a Astatement@ is not hearsay if A[t]he

statement is offered against a party and is . . . the party=s own statement, in either an individual or a
representative capacity.@


                                                   12
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 15 of 62 PageID #:1575




This rule defines Astatement@ as Aan oral or written assertion@ or Anonverbal conduct

of a person, if it is intended by the person as an assertion.@ Thus, a statement which

is incapable of verification, such as an order or a mere suggestion, is not hearsay and

does not invoke a Rule 801(d)(2)(E) analysis.          See, e.g., United States v. Tuchow, 768

F.2d 855, 868 n.18 (7th Cir. 1985).         More importantly, the coconspirator statement

rule does not apply when a statement is not being offered for the truth of the matter

asserted, and thus does not constitute Ahearsay@ as defined by Rule 801(c). 4

Accordingly, statements by alleged coconspirators may be admitted against a

defendant, without establishing the Bourjaily factual predicates set forth above,

when such statements are offered simply to show, for instance, the existence, the

illegality, or the nature or scope of the charged conspiracy.                 Gajo, 290 F.3d at

929-30; See, e.g., United States v. Herrera-Medina, 853 F.2d 564, 565-66 (7th Cir.

1988); Van Daal Wyk, 840 F.2d at 497-98; Tuchow, 768 F.2d at 867-69.

IV.    THE GOVERNMENT=S PROFFER REGARDING THE EXISTENCE OF
       THE CONSPIRACY AND DEFENDANTS= PARTICIPATION IN IT

       At trial, the government=s evidence will establish that: (1) all of the

defendants were members or associates of the Sinaloa Cartel Mexican Drug

Trafficking Organization; (2) the defendants conspired and agreed with each other

and with others to possess with the intent to distribute and to distribute in excess of

five kilograms or more of cocaine and one kilogram or more of heroin (Count One),


        4 Federal Rule of Evidence 801(c) defines hearsay as Aa statement, other than one made by
the declarant while testifying at the trial or hearing, offered in evidence to prove the truth of the
matter asserted.@


                                                 13
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 16 of 62 PageID #:1576




and (3) conspired to import into the United States from Mexico more than five

kilograms of cocaine and more than one kilogram of heroin (Count Two). This

section sets forth an overview of the Sinaloa Cartel, a history of this investigation,

and a summary of the evidence the government expects to present to establish the

existence of the charged conspiracy and defendants= membership in it.    The sources

of the government=s evidence at trial will include: witness testimony (including

cooperating co-conspirators), recordings (including recordings involving both

defendant Vasquez Hernandez and defendant Arevelo), and seizures of thousands of

kilograms of cocaine, dozens of kilograms of heroin, and millions of dollars in United

States currency.

      A.      The Sinaloa Cartel

      Through the testimony of lay and expert witnesses, the government will

establish that the Sinaloa Cartel, as it is commonly known to its members,

associates, and the public, is a Mexican drug trafficking organization. The Sinaloa

Cartel engages in, among other criminal activities, the importation of multi-ton

quantities of cocaine from sources of supply in Central and South America into

Mexico and the production or importation into Mexico of multi-kilogram quantities

of heroin.    The cocaine and heroin are then smuggled by the Sinaloa Cartel,

generally in shipments of hundreds of kilograms at a time, from Mexico across the

United States border, and then distributed throughout the United States, including

to Chicago.




                                         14
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 17 of 62 PageID #:1577




      Members of the Sinaloa Cartel use various methods to import cocaine and

heroin into Mexico from Central and South America, including the use of cargo

aircraft, private aircraft, submarines and other submersible and semi-submersible

vessels, container ships, go-fast boats, fishing vessels, buses, rail cars, tractor

trailers, and automobiles.   Members of the Sinaloa Cartel coordinate the unloading

of multi-ton shipments of cocaine in Mexico, and coordinate the transportation and

storage of these shipments within Mexico.        Thereafter, members of the Sinaloa

Cartel smuggle multi-ton quantities of cocaine, usually in shipments of hundreds of

kilograms at a time, and multi-kilogram quantities of heroin, from the interior of

Mexico to the United States border, and then into and throughout the United States,

including Chicago, for distribution.

      Among the distribution cells used by the Sinaloa Cartel was a distribution cell

in Chicago operated from Mexico by Pedro Flores and Margarito Flores (the AFlores

brothers@).   From 2005 through 2008, the Flores brothers were coordinating on

behalf of the Sinaloa Cartel and others the distribution in Chicago of approximately

1500 to 2000 kilograms of cocaine per month, as well as multi-kilogram quantities of

heroin.    The cell controlled by the Flores brothers received regular shipments, every

week to ten days on average, of hundreds of kilograms of cocaine. Among those

served by the Flores brothers were large-scale cocaine traffickers in Chicago, New

York, Washington, D.C., Philadelphia, Cincinnati, Columbus, Detroit, and Los

Angeles.




                                           15
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 18 of 62 PageID #:1578




      Members of the Sinaloa Cartel used various means to evade law enforcement

and protect their narcotics distribution activities, including but not limited to:

obtaining guns and other weapons; bribing corrupt public officials and law

enforcement officers in Mexico; engaging in violence and threats of violence; and

intimidating with threats of violence members of law enforcement, rival narcotics

traffickers, and members of their own drug trafficking organizations. Members of

the Sinaloa Cartel also used coded language and other means to hide their identities,

to misrepresent, conceal and hide the drug trafficking activities of the conspiracy,

and to avoid detection and apprehension by law enforcement authorities.

      B.     Structure & Differentiation of Roles

      Between 2005 and 2008, and for years before those dates and currently, two of

the principal leaders of the Sinaloa Cartel were Joaquin Guzman-Loera, a/k/a AEl

Chapo,@ a/k/a AChapo Guzman,@ and Ismael Zambada-Garcia, a/k/a AEl Mayo,@ a/k/a

AMayo Zambada.@       Each headed factions of the Sinaloa Cartel and each was

ultimately responsible for the overall Cartel=s operation.   Chapo Guzman and Mayo

Zambada, and members of the Guzman-Loera faction and the Zambada-Garcia

faction controlled by them, coordinated their narcotics trafficking activities with

each other to achieve the goals of the Sinaloa Cartel.        Specifically, those goals

included obtaining and negotiating the price for multi-ton quantities of cocaine from

Central and South American countries, directing and arranging for the

transportation of multi-kilogram quantities of cocaine and heroin from the interior of

Mexico to the United States border, smuggling this cocaine and heroin into and


                                          16
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 19 of 62 PageID #:1579




throughout the United States, and obtaining cash narcotics proceeds for these

activities from customers in the United States and elsewhere.

      As part of the Sinaloa Cartel=s operations, Chapo Guzman and Mayo Zambada

obtained and used the services of numerous co-conspirators to further the Sinaloa

Cartel=s goals.     Among the individuals about whom the government expects the

Court will hear testimony, either through the testimony of cooperating defendants,

on recorded calls, or both, include the following (in the order they appear in the

indictment):

               1.     Jesus Vicente Zambada-Niebla

      Defendant Jesus Vicente Zambada-Niebla, a/k/a AVicente Zambada-Niebla,@

a/k/a AVicente Zambada,@ a/k/a AMayito,@ a/k/a A30,@ who is Mayo Zambada=s son, was

a high-level member of the Sinaloa Cartel and the Zambada-Garcia faction, and was

responsible for many aspects of the Cartel=s operations. ZAMBADA-NIEBLA acted,

among other things, as a logistical coordinator who coordinated deliveries of

multi-kilogram quantities of cocaine and heroin into the United States on behalf of

defendant Ismael Zambada-Garcia and the Zambada-Garcia faction, and deliveries

of bulk quantities of United States currency to defendant Ismael Zambada-Garcia

and the Zambada-Garcia faction from its customers in the United States.

Zambada-Niebla also, at times, coordinated the delivery of narcotics from South

America to Mexico; consulted with rival cartels on behalf of the Sinaloa Cartel; and




                                         17
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 20 of 62 PageID #:1580




participated in high-level meetings with his father, Chapo Guzman, and others to

discuss Sinaloa Cartel business.5

       2.     Alfredo Guzman-Salazar

       Alfredo Guzman-Salazar, a/k/a AAlfredillo,@ a son of Joaquin Guzman-Loera,

acted as a logistical coordinator who coordinated deliveries of multi-kilogram

quantities of cocaine and heroin into the United States on behalf of defendant

Joaquin Guzman-Loera and the Guzman-Loera faction, as well as deliveries of bulk

quantities of United States currency to Joaquin Guzman-Loera and the

Guzman-Loera faction from its customers in the United States.

       3.     Alfredo Vasquez-Hernandez

       Alfredo Vasquez-Hernandez, a/k/a AAlfredo Compadre,@ acted as a logistical

coordinator who coordinated the importation to Mexico from Central and South

American countries of multi-ton quantities of cocaine, and deliveries of

multi-kilogram quantities of cocaine into the United States on behalf of defendant

Joaquin Guzman-Loera and the           Guzman-Loera faction, as well as deliveries of

bulk quantities of United States currency to Joaquin Guzman-Loera and the

Guzman-Loera faction from its customers in the United States.

       4.     Juan Guzman-Rocha

       Juan Guzman-Rocha, a/k/a AJuancho,@ is a relative of Chapo Guzman and was

a high-level member of the Sinaloa Cartel and controlled the ACuliacan Plaza.@            In

other words, he controlled the flow of narcotics through the Culiacan, Mexico area

5 The Court granted defendants Vasquez Hernandez and Arevalo Renteria’s motion to sever
Zambada-Niebla’s case from their own, without objection from the government.

                                              18
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 21 of 62 PageID #:1581




for the Guzman-Loera faction.      Juan Guzman-Rocha, a/k/a AJuancho,@ acted as a

narcotics   broker   and   logistical   coordinator   who   coordinated   deliveries   of

multi-kilogram quantities of cocaine and heroin into the United States on behalf of

defendant Joaquin Guzman-Loera and the Guzman-Loera faction, as well as

deliveries of bulk quantities of United States currency to Joaquin Guzman-Loera

and the Guzman-Loera faction from its customers in the United States.

      5.     German Olivares

      German Olivares was a high-level member of the Sinaloa Cartel and

controlled the AJuarez Plaza.@    That is, he controlled the flow of narcotics through

the Juarez, Mexico area for the Zambada-Garcia faction.      German Olivares acted as

a logistical coordinator who coordinated deliveries of multi-kilogram quantities of

cocaine and heroin into the United States on behalf of defendant Ismael

Zambada-Garcia and the Zambada-Garcia faction, as well as deliveries of bulk

quantities of United States currency to defendant Ismael Zambada-Garcia and the

Zambada-Garcia faction from its customers in the United States.

      6.     Felipe Cabrera Sarabia

      Felipe Cabrera Sarabia (AFelipe@) was a heroin supplier who worked with and

for defendant Ismael Zambada-Garcia and the Zambada-Garcia faction, who

coordinated deliveries of multi-kilogram quantities of heroin into the United States,

as well as deliveries of bulk quantities of United States currency to defendant Ismael

Zambada-Garcia and the Zambada-Garcia faction from its customers in the United

States.


                                           19
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 22 of 62 PageID #:1582




      7.     Manuel Fernandez-Navarro

      Manuel Fernandez-Navarro, indicted in a companion case in this district, was

associated with both the Guzman-Loera faction and Zambada-Garcia faction, and

acted as a narcotics broker for, and a customer of, the Sinaloa Cartel.             In

conjunction with the Sinaloa Cartel, Manuel Fernandez-Navarro received deliveries

of multi-kilogram quantities of cocaine and heroin in the United States and

elsewhere which were distributed in the United States, and coordinated deliveries of

multi-kilogram quantities of cocaine and heroin into the United States, as well as

deliveries of bulk quantities of United States currency to both factions in Mexico

from their customers in the United States.

      8.     Tomas Arevalo-Renteria

      Tomas Arevalo-Renteria worked with both the Guzman-Loera faction and the

Zambada-Garcia faction, and acted as a narcotics broker and customer for both

factions and coordinated deliveries of multi-kilogram quantities of cocaine and

heroin into the United States, as well as deliveries of bulk quantities of United

States currency to both factions in Mexico from their customers in the United States.

      9.      Pedro Flores and Margarito Flores

      Pedro Flores and Margarito Flores were narcotics customers of both the

Guzman-Loera     faction   and   the   Zambada-Garcia   faction,   as   well   as   the

Beltran-Leyva Cartel, who purchased and distributed multi-ton quantities of

cocaine, usually in shipments of hundreds of kilograms at a time, in Chicago and




                                         20
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 23 of 62 PageID #:1583




elsewhere.   The Flores brothers also purchased and distributed multi-kilogram

quantities of heroin from the Sinaloa Cartel for distribution in Chicago, Illinois.

      C.     History of the Investigation

      The Sinaloa Cartel, and Chapo Guzman and Mayo Zambada in particular,

have been the subject of numerous federal investigations, resulting in Chapo

Guzman=s indictment in no fewer than six federal districts between 1995 and 2009,

and Mayo Zambada=s indictment in no fewer than three federal districts.               In

addition, both Guzman-Loera and Zambada-Garcia, as well as their organizations,

have been designated by the President of the United States as Narcotics Kingpins

pursuant to the Foreign Narcotics Kingpin Designation Act, 21 U.S.C. ' 1905(d), and

31 C.F.R., Parts 501 and 598.        Both Guzman-Loera and Zambada-Garcia are

fugitives in this case. The investigation in the Northern District of Illinois began as

a DEA investigation into cocaine and heroin trafficking in Chicago.     As part of that

investigation, the Flores brothers were identified (as they had been in other

investigations) as the sources of supply to large-scale narcotics distributors in the

Chicago area, including Milwaukee, Wisconsin, where the Flores brothers had been

indicted in 2003 on federal narcotics charges.

      In the summer of 2008, the Flores brothers approached the U.S. government

about the prospect of cooperating with the government.             After a period of

discussions with counsel, the Flores brothers began providing the government with

information about their narcotics trafficking activities and those associated with

them, including their relationship with the leadership of the Sinaloa Cartel.


                                          21
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 24 of 62 PageID #:1584




      D.     The Evidence Establishing the Existence of the Conspiracy

      The evidence in this case will be comprised primarily of the testimony of

cooperating witnesses, recorded conversations among co-conspirator members of the

Sinaloa Cartel, and law enforcement seizures of thousands of kilos of narcotics and

millions of dollars of U.S. currency.   At trial, the government currently anticipates

calling approximately ten cooperating witnesses who were involved in large-scale

narcotics trafficking activities with defendants Vasquez Hernandez and/or Arevalo

Renteria.   Each of these witnesses will offer testimony of Vasquez Hernandez and

Arevalo Renteria=s direct participation in the conspiratorial objectives of the Sinaloa

Cartel as charged in the indictment, specifically, the import of multi-ton quantities

of cocaine from Central and South American countries, including Colombia and

Panama, to the interior of Mexico, and then on to the United States.    R.157 at 9-10.

In addition, several of these witnesses will further testify to Arevalo=s membership

in the Sinaloa Cartel and his involvement in trafficking thousands of kilograms of

cocaine and dozens of kilograms of heroin.

      The bulk of the witnesses the government intends to call at trial will offer

direct evidence of the existence, structure and conspiratorial intent of the Sinaloa

Cartel, and defendant Vasquez Hernandez and defendant Arevalo Renteria=s

participation in the conspiracy during the period alleged in the third superseding

indictment, May 2005 through December 2008.             These witnesses will testify

regarding their interaction with each defendant in Mexico as each engaged in a

number of activities to further the conspiratorial objectives.


                                           22
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 25 of 62 PageID #:1585




        Several witnesses are expected to testify that Vasquez Hernandez identified

himself as a lifelong friend of Chapo Guzman, and that Vasquez Hernandez stated

that he oversaw the transportation of cocaine for Chapo Guzman in several different

ways.        On behalf of Chapo Guzman, Vasquez Hernandez organized the

transportation of cocaine from Colombia to Mexico in airplanes; was involved in the

transportation of cocaine from Colombia to Mexico in submarines used to evade law

enforcement and the military when moving cocaine across the open ocean; and

facilitated the transportation of cocaine within Mexico and in the United States in

rail cars.    Several witnesses are expected to testify to Vasquez Hernandez’s use of a

train transport system on behalf of the Sinaloa Cartel to deliver large quantities of

cocaine to Chicago. Several witnesses will also testify that Vasquez Hernandez also

handled the logistics of transporting large shipments of bulk currency from drug

proceeds in both the United States and Mexico. These activities, as well as other

aspects of Vasquez Hernandez’s involvement with the narcotics-trafficking activities

of the Sinaloa Cartel, are corroborated in a recorded meeting held in Guadalajara,

Mexico in November 2008, which the government intends to introduce at trial,

discussed infra.

        Several of the witnesses at trial will also testify to Arevalo-Renteria=s

attendance at high-level meetings of the Sinaloa Cartel and his coordination of two

heroin shipments from Mexico to Chicago in October and November 2008.

Considered individually and collectively, this testimony will establish the existence



                                           23
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 26 of 62 PageID #:1586




of the conspiracy involving the charged members of the Sinaloa Cartel and support

the admission of co-conspirator statements summarized below.

      The evidence at trial will establish that Joaquin Guzman-Loera, Ismael

Zambada-Garcia, Vicente Zambada-Niebla, Alfredo Guzman-Salazar. Alfredo

Vasquez Hernandez, Juan Guzman-Rocha, German Olivares, Felipe Cabrera

Sarabia, Tomas Arevalo Renteria,        Pedro Flores, Margarito Flores, and others

formed a confederation for the purpose of committing, by their joint efforts, a

criminal act; namely, conspiring to import into the United States and distribute

ton-levels of cocaine and heroin.   The evidence will further establish that there was

a Aparticipatory link@ between Vasquez Hernandez and Arevalo-Renteria and the

conspiracy, that is, Vasquez Hernandez and Arevalo-Renteria each knew of the

conspiracy and intended to join and associate himself with its criminal design and

purpose.   See, e.g., United States v. Pulido, 69 F.3d 192, 206 (7th Cir. 1995).   The

government=s evidence will further establish that the conspiracy began no later than

May 2005 and ended no earlier than December 2008.

      The statements summarized below are based principally on the prior

testimony of certain coconspirators and recorded calls in the possession of the

government.    Because almost all of these statements are quite extensive and

detailed, and because the number of coconspirators in this conspiracy is quite large,

this Santiago proffer is necessarily just a summary of the statements that have been




                                          24
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 27 of 62 PageID #:1587




and will continue to be provided to the defense, particularly following the Court=s

December 19, 2013, deadline for the production of ' 3500 and Giglio material. 6

          The government will introduce at trial numerous tape-recorded telephone

conversations between and among co-conspirators that reflect methods of operation

of the conspiracy, including prices for cocaine, transportation methods, the progress

of shipments, the transportation of shipments, and the identification of

co-conspirators.     Many of these conversations were recorded by the Flores brothers

after they began cooperating with the government, and include conversations with

both defendants Vasquez Hernandez and Arevalo Renteria, as well as numerous

narcotics-related conversations with several other co-conspirators.                 The Seventh

Circuit has repeatedly held that A[a] co-conspirator's arrest does not automatically

terminate a conspiracy; the remaining conspirators may continue to carry out the

goals of the conspiracy notwithstanding the arrest of one of their partners.@              United

States v. Mealy, 851 F.2d 890, 901 (7th Cir. 1988) (citing United States v. Papia, 560

F.2d 827, 835 (7th Cir.1977); United States v. Thompson, 476 F.2d 1196, 1200 (7th

Cir.)).    Citing a similar Sixth Circuit case, the Seventh Circuit explained:




        6The government continues to evaluate potential trial witnesses, and has information that

additional witnesses, some of whom have been interviewed by Assistant U.S. Attorneys and agents
from other federal districts, may have relevant testimony in the trial of this matter. Thus, this
proffer simply identifies the categories of co-conspirator statements the government will seek to
introduce, with specific examples of each. The government will make the requisite disclosures to the
defense and the Court as its witness list becomes more concrete, but the type of co-conspirator
statements are disclosed in this filing. The government reserves its right to supplement this filing
as well as its pre-trial disclosures as necessary based on the undersigned’s interview of additional
witnesses.


                                                25
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 28 of 62 PageID #:1588




      [W]here, as here, the unarrested coconspirators are still capable of
      perpetuating the ongoing conspiracy, the statements made by them to
      the arrested conspirator are admissible for Rule 801(d)(2)(E) purposes,
      even when the arrested conspirator was acting Aunder the direction and
      surveillance of government agents to obtain evidence against the
      coconspirators.@

Id. at 901 (citing United States v. Hamilton, 689 F.2d 1262, 1269 (6th Cir.1982)).

The Seventh Circuit thus held, A[t]he fact that one party to the conversation was a

government informant does not preclude the admission of the conspirator's

statements under Rule 801(d)(2)(E).@ Id.

             1.    Testimony from Pedro and Margarito Flores Regarding
                   the Beginning of the Charged Conspiracy

      According to cooperating defendants Pedro Flores and Margarito Flores (the

Flores brothers), in approximately May 2005, the Flores brothers were summoned to

a series of meetings with several high-ranking members of the Sinaloa Cartel.

Prior to these meetings, the Flores brothers had been receiving cocaine and heroin

from the Sinaloa Cartel, but from lower-level members and associates of the Cartel.

The May 2005 meetings marked the Flores brothers= first interactions with the

Cartel leadership and led to direct agreements between the leadership and the

Flores brothers under which the Sinaloa Cartel supplied tons of cocaine and dozens

of kilos of heroin to the Flores brothers which was ultimately distributed in Chicago

and elsewhere in the United States.

      The Flores brothers first attended a meeting in Culiacan, Sinaloa in

approximately     May   2005   with   Zambada-Garcia,    Guzman-Rocha,     Olivares,

Zambada-Niebla, defendant Arevalo-Renteria, and several bodyguards and other

                                           26
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 29 of 62 PageID #:1589




members of the Sinaloa Cartel.      The Flores brothers and Zambada-Garcia first

reached an agreement to re-pay a debt owed by the Flores brothers from their prior

dealings with a lower-level Sinaloa Cartel member.    The Flores brothers informed

Zambada-Garcia that, over the course of the last several years leading up to the May

2005 meeting, the Flores brothers had purchased and sold a total of between

approximately 15 and 20 tons of cocaine from the Sinaloa Cartel.     Based on this

past relationship with lower-level members of the Cartel, the Flores brothers

assured Zambada-Garcia that they were willing and able to pay their debt in full.

      Additional meetings followed over the next few days, during which the Flores

brothers negotiated an agreement by which Zambada-Garcia, Zambada-Niebla, and

other members of the Zambada-Garcia faction of the Sinaloa Cartel would provide

cocaine and heroin to the Flores brothers.        In particular, Zambada-Garcia,

Zambada-Niebla, and others agreed to provide cocaine to the Flores brothers on

credit at a predetermined price.   Zambada-Garcia explained that this was the same

price received by other high-level members of the Sinaloa Cartel.   By the terms of

the agreement, after the Flores brothers sold the cocaine to their own customers,

they were to provide payment to Zambada-Garcia and his associates by delivering

bulk United States currency to an agreed upon location.      On approximately the

third day of the meetings, Zambada-Garcia informed the Flores brothers that

Guzman-Loera wanted to meet with them. The Flores brothers were then flown

from an airstrip near Culiacan to a mountaintop compound to meet with

Guzman-Loera.    Guzman-Loera informed the Flores brothers that he would honor

                                         27
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 30 of 62 PageID #:1590




the same agreement that the Flores brothers reached with Zambada-Garcia.

Guzman-Loera instructed the Flores brothers that one of Guzman-Loera=s

lieutenants would handle the logistics of delivering cocaine to Chicago and collecting

payment after the Flores brothers sold the cocaine.

      In addition to these initial meetings, which help establish the existence of the

conspiracy, the Flores brothers will also testify to defendant Vasquez Hernandez’s

and (beyond what is described above) defendant Arevalo Renteria’s involvement in

the Sinaloa Cartel’s business.    Among other topics, it is expected that Pedro and

Margarito Flores will testify that they met Vasquez Hernandez in approximately

2005 and that Vasquez Hernandez identified himself as a lifelong friend of Chapo

Guzman.    Pedro Flores and Margarito Flores will testify that over time, Vasquez

Hernandez stated that he oversaw the transportation of cocaine for Chapo Guzman

in several different ways.     On behalf of Chapo Guzman, Vasquez Hernandez

organized the transportation of cocaine from Colombia to Mexico in airplanes; was

involved in the transportation of cocaine from Colombia to Mexico in submarines

used to evade law enforcement and the military when moving cocaine across the

open ocean; and facilitated the transportation of cocaine within Mexico and in the

United States in rail cars.   It is also expected that Pedro and Margarito Flores will

testify that Vasquez Hernandez and his wife, Individual M, also handled the

logistics of transporting large shipments of bulk currency from drug proceeds in both

the United States and Mexico.



                                          28
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 31 of 62 PageID #:1591




             2.     The Transportation of Cocaine to the United States

                    a.    Flores Brothers Testimony

      After the meetings with Guzman-Loera, Zambada-Garcia, Zambada-Niebla,

and others, the Flores brothers began to receive regular shipments of cocaine from

Guzman-Loera, Zambada-Garcia, and their lieutenants.               These shipments

contained hundreds of kilos of cocaine each and occurred on average once a week.

Consistent with the agreement reached with Sinaloa Cartel leaders Guzman-Loera

and Zambada-Garcia, the Flores brothers paid the same price per kilogram of

cocaine, regardless of whether the cocaine was received from Guzman-Loera or

Zambada-Garcia.     While it would vary from transaction to transaction, the Flores

brothers agreed with Guzman-Loera, Zambada-Garcia, and others to a system to

determine who bore the risk of losing loads of cocaine to law enforcement seizure or

theft at any given point of the journey from Mexico until it was distributed inside the

United States.    Under this system, the Sinaloa Cartel would retain responsibility

for the cocaine until it arrived in a certain location, and then the Flores brothers

would take over responsibility of the cocaine from that location until it was sold to

customers in the United States.     In general, the Flores brothers did not become

responsible for cocaine until it arrived in Chicago; although, starting in early 2008,

the Flores brothers also occasionally took possession of cocaine in Los Angeles and

then transported the cocaine to Chicago themselves.     The Sinaloa Cartel generally

bore the responsibility for having the cocaine or heroin cross the U.S.-Mexico border.

The location used to determine who would be responsible for the cocaine was also

                                          29
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 32 of 62 PageID #:1592




used to determine the price of the cocaine.       Accordingly, the Flores brothers

generally paid Chicago wholesale prices for drugs delivered by the Sinaloa Cartel.

      In addition to this testimony, the Flores brothers will testify regarding

Vasquez Hernandez’s role in the drug trafficking of the Sinaloa Cartel.       Among

other topics, Pedro and Margarito Flores will testify that Vasquez Hernandez

informed them that he had previously utilized train transportation to import cocaine

from Mexico into the United States. It is expected that Pedro and Margarito Flores

will testify that in late 2006 or early 2007, during the conspiracy period, they

entered into an agreement with Vasquez Hernandez to utilize Vasquez Hernandez’s

train transportation network to transport the Flores brothers’ cocaine to Chicago.

Pedro and Margarito Flores will testify that as of that time, the Flores brothers were

transporting most of their cocaine in semi-trucks and trailers with trap

compartments in the roof, but that due to Vasquez Hernandez=s prior experience in

transporting cocaine by train, Pedro and Margarito Flores decided to branch out into

train transportation.

      Pedro and Margarito Flores will testify that in accord with their agreement

with Vasquez Hernandez, in late 2007 they began to utilize Vasquez Hernandez to

transport loads of their cocaine by train to Chicago.   Pedro Flores and Margarito

Flores will testify that Vasquez Hernandez told them he intended to use a legitimate

furniture business as “cover loads” on trains, and transport furniture that also had

cocaine secreted within the train cars.   In late October or early November 2008,

Pedro and Margarito Flores arranged to transport 200 kilograms of cocaine from Los

                                          30
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 33 of 62 PageID #:1593




Angeles to Chicago using the train transportation system they had arranged with

Vasquez Hernandez.           This transaction, as well as other aspects of Vasquez

Hernandez’s involvement with the narcotics-trafficking activities of the Sinaloa

Cartel, are corroborated in a recorded meeting held in Guadalajara, Mexico in

November 2008, which the government intends to introduce at trial, and is described

in subsection 4(a), infra.

      Moreover, as detailed in the government’s 404(b) motion, Cooperating Witness

A (ACW-A@) will testify that he/she was formerly associated with members and

associates of the Sinaloa Cartel in Mexico, was a source of supply to drug traffickers

in the United States, including Chicago, and was also, at times, a coordinator of

shipments of cocaine into the United States for a drug trafficking organization in

Colombia (ADTO-A@) that supplied large volumes of cocaine.

      In approximately 2002, according to CW-A, CW-A decided to utilize Vasquez

Hernandez’s train transportation system to transport, from Guadalajara, Mexico, to

Chicago, ton-quantity loads of cocaine.    CW-A utilized the Vasquez Hernandez train

transport system on approximately four to six occasions in approximately 2002 to

transport cocaine from Guadalajara to Chicago.       According to CW-A, the cocaine

that Vasquez Hernandez transported for CW-A was but a part of larger consolidated

loads transporting cocaine for other people, that Vasquez Hernandez arranged to

transport from Guadalajara to Chicago. According to CW-A, CW-A’s four to six

loads that were transported using Vasquez Hernandez’s train system totaled

approximately 4,000 to 6,000 kilos of cocaine (four to six tons). According to CW-A,

                                           31
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 34 of 62 PageID #:1594




a portion of these loads were delivered to customers in Chicago, and a portion were

transported to New York by CW-A’s own transport system, once the load was safely

delivered in Chicago by Vasquez Hernandez’s train system.

       CW-A will testify that he/she met personally with Vasquez Hernandez to

negotiate the terms of, and payment for, using his train system.    Consistent with

the testimony of Pedro and Margarito Flores, CW-A will also testify that he was

aware that Vasquez Hernandez was also involved in the furniture business in

Guadalajara, Mexico.

                    b.    Seizures of Cocaine

       The proffered testimony of the Flores brothers regarding the size, means, and

methods of the conspiracy is corroborated by law enforcement=s seizure of

approximately 398 kilograms of cocaine on or about June 5, 2005, in Bloomington,

Illinois.   According to the Flores brothers, this load of cocaine was negotiated

directly with Zambada-Niebla, on behalf of the Sinaloa Cartel. Prior to this point,

Zambada-Niebla had his own workers unload the tractor trailers that brought loads

of cocaine up from Mexico and then delivered the drugs to the Flores brothers in

smaller portions.   In June 2005, Zambada-Niebla informed the Flores brothers that

he was comfortable with the Flores brothers= workers unloading the cocaine

themselves.    Zambada-Niebla then arranged for the approximately 398-kilogram

load to be sent to a warehouse the Flores brothers operated in Bloomington. The

truck carrying the load was stopped by the Illinois State Police for a routine

inspection and the drugs were discovered and seized.        According to the Flores

                                         32
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 35 of 62 PageID #:1595



brothers, after the load was seized, Zambada-Niebla instructed the Flores brothers

to acquire law enforcement records to prove that the load had in fact been seized.

The Flores brothers acquired some form of paperwork and submitted it to

Zambada-Niebla.     Zambada-Niebla later informed the Flores brothers that they

would not be held accountable for the seizure since they were not in possession of the

load at the time of the ISP stop.

      Upon the Flores brother’s cooperation, the government was able to seize,

and/or tie to the Cartel’s activities, significant quantities of narcotics, including but

not limited to the following:

      (a)    On or about June 5, 2005, approximately 398 kilograms of cocaine in
             Bloomington, Illinois.

      (b)    On or about February 12, 2007, approximately 300 kilograms of cocaine
             in Naperville, Illinois.

      (c)    On or about July 9, 2007, approximately 400 kilograms of cocaine in
             Lockport, Illinois.

      (d)    On or about May 26, 2008, approximately 8 kilograms of cocaine in
             Chicago, Illinois and South Holland, Illinois.

      (e)    On or about August 9, 2008, approximately 250 kilograms of cocaine in
             Melrose Park, Illinois.

      (f)    On or about October 7, 2008, approximately 15 kilograms of heroin in
             Chicago, Illinois.

      (g)    On or about November 13, 2008, approximately 20 kilograms of heroin
             in Northlake, Illinois.

      (h)    On or about November 13, 2008, approximately 8 kilograms of heroin in
             Chicago, Illinois.



                                           33
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 36 of 62 PageID #:1596



      (i)     On or about November 14, 2008, approximately 12 kilograms of heroin
              in Chicago, Illinois.

      (j)     On or about November 14, 2008, approximately 77 kilograms of cocaine
              in Ontario, California, bound for Chicago, Illinois.

      (k)     On or about November 15, 2008, approximately 86 kilograms of cocaine
              in Ontario, California, bound for Chicago, Illinois.

      (l)     On or about November 18, 2008, approximately 89 kilograms of cocaine
              in Ontario, California, bound for Chicago, Illinois

      (m)     On or about November 30, 2008, approximately 322 kilograms of
              cocaine in Ontario, California, bound for Chicago, Illinois.

              3.    The Transportation of Narcotics Proceeds from the
                    United States to Mexico

                    a.    Flores Brothers Testimony

      The Flores brothers further agreed with Guzman-Loera, Zambada-Garcia,

Vasquez Hernandez, Arevalo Renteria, and others to make payment for shipments

received through use of a system similar to the transportation system used to move

the drugs themselves.    After the drugs were sold to the Flores brothers= customers

in the United States, the Flores brothers collected payment in the form of U.S.

currency.    The currency was then consolidated, packaged, and transported in bulk

to Mexico.    The currency was hidden in trap compartments, generally located

within the roofs of tractor trailers and delivered to Sinaloa Cartel couriers in

Chicago and Los Angeles.         From their conversations with Guzman-Loera,

Zambada-Garcia, Vasquez Hernandez, Arevalo Renteria, and others, the Flores

brothers were aware that this money was delivered to safe houses operated by the

Sinaloa Cartel and then transported back to the Sinaloa Cartel through its

                                         34
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 37 of 62 PageID #:1597




transportation networks.    The Flores brothers are further aware that the cash

deposits were safely transported to Mexico because, in most instances, one of the

Flores brothers= workers would go to Sinaloa Cartel stash houses in Mexico to verify

that the count of the money was correct.

      As noted above, it is also expected that Pedro and Margarito Flores will testify

that Vasquez Hernandez and his wife, Individual M, also handled the logistics of

transporting large shipments of bulk currency from drug proceeds in both the United

States and Mexico.

                     b.    Money Seizures

      The proffered testimony of the Flores brothers regarding the collection and

handling of cash narcotics proceeds is corroborated by multiple law enforcement

money seizures in amounts consistent with the Flores= brothers description of the

volume of drugs and money involved in this conspiracy.    Between October 29, 2008,

and November 25, 2008, law enforcement seized a total of approximately

$15,185,000 in cash narcotics proceeds directly related to the charged conspiracy, as

described below:

      (1)    On or about April 14, 2008, law enforcement seized
             approximately $4,000,000 in United States currency in Palos
             Hills, Illinois;

      (2)    On or about October 29, 2008, law enforcement seized
             approximately $4,700,000 in United States currency in Hinsdale,
             Illinois;

      (3)    On or about November 4, 2008, law enforcement seized
             approximately $4,000,000 in United States currency in Hinsdale,
             Illinois;

                                           35
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 38 of 62 PageID #:1598




       (4)     On or about November 17, 2008, law enforcement seized
               approximately $1,000,000 in United States currency in
               Romeoville, Illinois;

       (5)     On or about November 22, 2008, law enforcement seized
               approximately $715,000 in United States currency in Chicago,
               Illinois; 7 and

       (6)     On or about November 25, 2008, law enforcement seized
               approximately $4,770,000 in United States currency in
               Romeoville, Illinois.

       These seizures were the result of searches of money stash houses used by the

Flores brothers and direct interactions with couriers for the Flores brothers and the

Sinaloa Cartel. In furtherance of the investigation, a controlled delivery was made

from law enforcement agents to couriers of the Sinaloa Cartel of the $4,000,000

recovered from a Flores brothers= stash house in Hinsdale on November 4, 2008. In

conducting the controlled delivery, DEA agents from Chicago transported the

$4,000,000 to Los Angeles. On November 12, 2008, this money was provided to

couriers for the Sinaloa Cartel. Law enforcement maintained surveillance of the

money and observed as it was taken to a warehouse and then subsequently loaded

into a tractor trailer. On November 13, 2008, agents followed the tractor trailer as it

left the Los Angeles area and drove to the U.S.-Mexico border. Agents observed the

tractor trailer carrying the money across the border to Mexicali, Baja California,

Mexico. The flow of this money is consistent with the Flores brothers’ description of
        7As described in further detail below, the $715,000 recovered on November 22, 2008 was

related to the payment made by the Flores brothers to Zambada-Garcia, Zambada-Niebla, and Felipe
Cabrera Sarabia for a November 2008 15-kilogram of heroin shipment. In furtherance of the
investigation, this money was provided to a courier for the Sinaloa Cartel in a controlled delivery.


                                                36
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 39 of 62 PageID #:1599




how payments were made to the Sinaloa Cartel on a regular basis. The money was

first collected from the Flores brothers= narcotics customers as payment for drugs

received; the money was then consolidated, counted, and packaged in a Flores

brothers= stash house; next the money was transported from Chicago to Los Angeles,

where it was provided to couriers of the Sinaloa Cartel; and finally, the money was

smuggled across the border into Mexico to be delivered to the Sinaloa Cartel as

payment for the Flores brothers= running debt.

            3.     Witness Testimony Concerning Deliveries of Drugs from
                   Central and South America to Mexico

      In addition to the testimony of the Flores brothers, the government will

introduce evidence at trial of defendant Vasquez Hernandez=s involvement, together

with other co-conspirators, in the importation of cocaine into Mexico from Central

and South America.

      Consistent with the proffered testimony of these individuals, during the

course of their dealings with Guzman-Loera, Zambada-Garcia, Zambada-Niebla,

Vasquez Hernandez, Arevalo Renteria and others, the Flores brothers also became

aware of many of the Sinaloa Cartel=s means and methods of importing cocaine to

Mexico from Colombia.       At times, the Flores brothers engaged in direct

conversations    with     Guzman-Loera,      Zambada-Garcia,      Zambada-Niebla,

Guzman-Rocha, Olivares, Alfredo Guzman-Salazar, and Vasquez-Hernandez

regarding these means and methods when the Flores brothers invested directly in

loads that the Sinaloa Cartel was to receive from its sources of supply in Colombia.


                                        37
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 40 of 62 PageID #:1600




The Flores brothers were typically informed of the progress of cocaine shipments

from Colombia to Mexico and the methods that the organizations were using to

transport those shipments.      Guzman-Loera, Zambada-Garcia, and others often

agreed to sell the Flores brothers significant quantities of those shipments well

before the shipments arrived in Mexico. When the Flores brothers had purchased a

percentage of a load, they were kept apprised of the progress of the load by

Zambada-Niebla, Guzman-Rocha, Olivares, and others.         In particular, the Flores

brothers were informed of the timing of maritime shipments and the methods used

to deliver them from Colombia, which included go-fast boats, submarines and

semi-submersibles, fishing and cargo vessels, and other means.            On several

occasions, the Flores brothers were invited by Zambada-Niebla, Guzman-Rocha,

Olivares, and others to inspect large shipments of cocaine when they arrived in

Mexico in order to allow the Flores brothers inspect the quality and select portions of

the load that they wished to purchase.

      In addition, from their conversations with co-conspirator members of the

Sinaloa Cartel, including Vasquez Hernandez, the Flores brothers were aware that

Guzman-Loera, Zambada-Garcia, Vasquez Hernandez, and their organization used

747 cargo planes to import ton-quantities of cocaine from Central and South America

to Mexico.   According to the Flores brothers, Guzman-Loera, Zambada-Garcia, and

their associates within the Sinaloa Cartel also used smaller airplanes to transport

drugs by air and tractor trailers with trap compartments, buses, trains, and personal

automobiles to transport cocaine, first from Central and South America to Mexico,

                                          38
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 41 of 62 PageID #:1601




and then from Mexico into the United States.       Finally the Flores brothers learned

from the conversations with Guzman-Loera, Zambada-Garcia, and others that the

Sinaloa Cartel used a network of tunnels to transport narcotics from Mexico into the

United States.

             4.     Recorded Conversations Proving the Existence of and
                    Defendants= Participation in the Conspiracy

                    a.     November 2008 Recorded               Conversation    with
                           Vasquez-Hernandez

      The proffered testimony of the Flores brothers regarding the means and

methods by which the Sinaloa Cartel transported narcotics is corroborated by

numerous recorded conversations and other evidence, including a recorded

conversation between the Flores brothers, defendant Vasquez-Hernandez, and

others which occurred on or about November 3, 2008.           As noted above and as

charged in the indictment, Vasquez-Hernandez was a logistical coordinator for the

Sinaloa Cartel who arranged for cocaine to be received by the cartel in Mexico and

delivered to its customers in the United States.    During the recorded conversation,

Vasquez-Hernandez, Pedro Flores, and Margarito Flores discussed an impending

multi-ton submarine load to be delivered from Colombia to the Sinaloa Cartel.     The

Flores brothers had invested, or prepaid, for a portion of this load.

      Vasquez-Hernandez informed the Flores brothers that he believed that the

load would arrive soon and remarked that the Flores brothers would potentially hear

about the arrival of the load from other co-conspirators before Vasquez-Hernandez

learned of it.    Vasquez-Hernandez then explained the specifics of a particular

                                          39
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 42 of 62 PageID #:1602




method used by the Sinaloa Cartel to smuggle cocaine into Mexico from Central and

South America.    In particular, Vasquez-Hernandez explained that the Sinaloa

Cartel had 747 cargo aircraft that it used for this purpose.     The Sinaloa Cartel

arranged to have shipments of clothing sent to Central and South America as part of

a humanitarian aid project.     Once the planes landed in Central or South America,

the clothing was offloaded and up to 13 tons of cocaine was loaded onto the plane for

the return trip to Mexico.    The planes landed at Mexico City International Airport

where the cocaine was offloaded from the planes and smuggled out of the airport

through various means.       Vasquez-Hernandez explained that the three most recent

trips utilizing this method, in which Vasquez Hernandez was involved, resulted in

the importation of 1700, 7000, and 11- 13,000 kilos of cocaine, respectively, into

Mexico.

      Moreover, as noted above, Pedro and Margarito Flores will also testify that

Vasquez Hernandez informed them that he had previously utilized train

transportation to import cocaine from Mexico into the United States.         In late

October or early November 2008, Pedro and Margarito Flores arranged to transport

200 kilograms of cocaine from Los Angeles to Chicago using the train transportation

system they had arranged with Vasquez Hernandez.              During the recorded

conversation on or about November 3, 2008, Vasquez Hernandez informed Pedro and

Margarito Flores that, in addition to the 200 kilos of cocaine Vasquez Hernandez

was transporting for Pedro and Margarito Flores, he had placed an additional 76

kilograms of his own cocaine into the same train car.    Vasquez Hernandez stated

                                          40
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 43 of 62 PageID #:1603




that he was running short on money and asked if the Floreses would be willing to

purchase the 76 kilograms.       Pedro Flores told Vasquez Hernandez that they would

only purchase the cocaine if they could agree to a price that would allow the Floreses

to make enough of a profit from the cocaine to make it worth taking on the risk of the

extra kilos.   Vasquez Hernandez asked on the recording what the wholesale value

of cocaine was in Chicago, stating “how much is the kilo going for in Chicago?”

Pedro Flores responded that, at that time, the price was between $30,000 and

$30,500 per kilo.          Ultimately, during the recorded conversation, Pedro and

Margarito Flores agreed to purchase the load of 76 kilos of cocaine from Vasquez

Hernandez for approximately $2,166,000, which equated to $28,500 per kilo.        The

government expects that another cooperating witness, Cesar Perez, will testify that

he took delivery in Chicago, on behalf of Pedro and Margarito Flores, of the 276

kilograms in early November 2008.           Additionally, the government expects to

introduce recorded calls with Vasquez Hernandez in early December 2008, in which

Vasquez Hernandez discusses that Pedro and Margarito Flores’s debt to him is

approximately $2.2 million.

                      b.      May   2008    to    November    2008        Recorded
                              Conversations with German Olivares

      German Olivares acted as a logistics coordinator and right-hand man to

Zambada-Garcia.       Olivares negotiated the price and quantity of loads of cocaine

distributed by the Sinaloa Cartel and collected payment for drugs that were

provided on credit.    With oversight from Zambada-Niebla, Olivares often negotiated


                                           41
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 44 of 62 PageID #:1604




loads of cocaine provided to the Flores brothers and was primarily responsible for

accounting for the running debt owed by the Flores brothers for narcotics supplied

by Zambada-Garcia and Zambada-Niebla. Between May 2008 and November 2008,

Pedro Flores consensually recorded three phone conversations with Olivares

regarding the Flores brothers' debt and payments made to the Cartel.                          In one

conversation, Olivares informed Flores that there were currently 400 kilograms of

cocaine in transit to the Flores brothers and asked that the Flores brothers pay

$20,000 per kilogram: 8

       GO:     How much are you going to pay me? How much am I going to
               make?

       PF:     I don=t know, so you tell me so that. . . .so that. . . .right? So that
               I can get the people ready now. You let me know.

       GO:     Could I give them to you at 20 [sell kilos of cocaine at $20,000 per
               kilo]?




        8 This filing contains portions of transcripts from recorded, Spanish language conversations.

Such translated quotations are intended as draft materials only and do not reflect a final
transcription of the recordings. The preliminary draft language is subject to change prior to trial
and is produced herein only to assist the Court in making its findings and to provide adequate notice
to defendants of the existence of the statements to allow for the preparation of a defense. As these
materials are expressly offered as draft transcripts, they cannot be used as substantive evidence or as
impeachment at trial. Portions of these recordings were conducted in coded terms. Statements in
[brackets] indicate instances where these coded terms have been interpreted by cooperating witnesses
and/or law enforcement agents.


                                                  42
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 45 of 62 PageID #:1605




      PF:    Hum. . . .Yes, I think. . . .but I just wanted to know so that I can
             call everyone to let them know and then see what they say.

      GO:    That=s why I'm saying because I=m going up.         I=m not stupid, if I
             don=t raise it, I won=t make anything.

      PF:    Oh. . . .how many are they?

      GO:    It=s 400 that are on their way [400 kilos of cocaine]. I was going
             to send a fucking two-hundred and two-hundred. . . .but they
             made a mistake and threw it all in.

      PF:    Oh, so it=s all going to get here at once?

      GO:    Yes. So that you can get ready. . . .so that you can get a ride to
             receive 400.

      PF:    Yeah, yeah.   I have a. . . .a truck. . . .a pick-up.

      In a subsequent recorded phone conversation from November 2008, Pedro

Flores and Olivares discussed a payment that the Flores brothers had recently sent

to the Sinaloa Cartel.

      PF:    Hey, was everything okay with the other check [payment for a
             past load of cocaine]?

      GO:    No, it was short fifteen thousand four hundred and twenty
             [$15,420].

      PF:    Really?

      GO:    Yes, for real. They counted it there; one thousand thirty-five
             [$1,035,000]. The four hundred twenty are worthless. Fifteen
             thousand [$15,000]. Let them know.

      PF:    Okay, I=ll tell them.       It should be one thousand fifty
             [$1,050,000]. But I=ll ask right now.

      GO:    Check with the one that brought it [person who transported the
             money].


                                                   43
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 46 of 62 PageID #:1606




      PF:    Yes. He=s the one that brought it down. I don't know because I
             made a deposit for two thousand one hundred and fifty
             [$2,150,000], plus the percentage they were going to charge me.
             Maybe they took something out.

      GO:    Check it out well there.

      PF:    Okay, I=m going to check that. And. . . .and. . . .anyway I=m
             fixing things even if he doesn=t comply [Flores will pay the money
             even if it is the transporters fault].

             5.    Flores Brothers= Drug Ledgers

      In addition to the testimony of witnesses and the introduction of recorded

conversations regarding narcotics supplied by the Sinaloa Cartel to the Flores

brothers which were distributed in the United States, the government will also offer

into evidence drug ledgers maintained by Pedro Flores and Margarito Flores during

the operative dates of the conspiracy.   These ledgers are not complete and do not

reflect the entirety of the drug trafficking activities which occurred during the

conspiracy; however, the ledgers were created by the Flores brothers at or near the

time of the events contained therein and provide an accurate accounting of narcotics

received and distributed, as well as cash narcotics proceeds collected from the Flores

brothers customers and smuggled to Mexico as payments to the Sinaloa Cartel for

drugs received on credit.   The coded ledgers reflect the receipt of ton quantities of

cocaine from the Sinaloa Cartel and the payment of millions of dollars back to the

cartel after the drugs were sold to the Flores brothers= customers.




                                                44
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 47 of 62 PageID #:1607




             6.     Testimony, Recordings and Seizures Related to November
                    2008 13-Kilogram and 20-Kilogram Heroin Transactions

      In late October 2008, Margarito Flores attended a multi-day meeting with

Guzman-Loera, Zambada-Garcia, Zambada-Neibla, Felipe LNU, and other members

of the Sinaloa Cartel. Consistent with past meetings, Margarito Flores was flown

in a small plane from an airstrip outside Puerto Rico, Sinaloa, Mexico, to a

mountaintop compound.      Margarito Flores first met with Zambada-Garcia and

Zambada-Niebla to discuss future narcotics transactions.       Zambada-Garcia and

Zambada-Niebla asked Margarito Flores whether the Flores brothers were able to

distribute heroin at that time.   Zambada-Garcia, Zambada-Niebla, and Margarito

Flores discussed the price per kilo at which the Flores brothers could sell heroin.

Zambada-Garcia then asked Margarito Flores to work with Zambada-Garcia=s

associate Felipe LNU to distribute heroin in the United States. Zambada-Garcia

and Zambada-Niebla then introduced Margarito Flores to Felipe LNU.       Ultimately

the Flores brothers agreed to purchase 13 kilograms of heroin from Felipe LNU for a

total price of $715,000.

      Following the discussion about heroin, Margarito Flores had a further

discussion with Zambada-Niebla, Felipe LNU, and others about marijuana.

Although the Flores brothers did not have an established customer base for

marijuana, Zambada-Niebla and the others stated that they wanted to sell the

Flores brothers ten to fifteen tons of marijuana per month.   However, no marijuana

transaction occurred following this discussion.


                                                  45
Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 48 of 62 PageID #:1608




          In November 2008, the Flores brothers received the 13 kilograms

    of the heroin that they agreed to purchase from Zambada-Garcia,

    Zambada-Neibla, and Felipe LNU.        The Flores brothers informed DEA

    that the heroin had been received, which resulted in a partial seizure of

    the load, approximately 8 kilograms.     Near the same time, the Flores

    brothers also received a shipment of 20 kilograms of heroin that

    originated with Guzman-Loera.      That load from Guzman-Loera was

    also seized by law enforcement.    Following the seizures, Pedro Flores

    and Margarito Flores consensually recorded a series of telephone

    conversations with co-defendants Alfredo Guzman-Salazar, Juan

    Guzman-Rocha, Felipe LNU, Zambada-Niebla, and Guzman-Loera.

    During these calls, the Flores brothers claimed that the heroin that

    they received from Zambada-Garcia, Zambada-Niebla, and Felipe was

    of inferior quality to the heroin received from Guzman-Loera.         In

    reality, all of the heroin was approximately 94 percent pure; however,

    the Flores brothers used the ruse of the quality of the heroin as a

    predicate to have detailed discussions regarding the shipments of

    heroin with several co-conspirators.




                                               46
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 49 of 62 PageID #:1609




                7.     November 2008 Recorded               Conversations        with
                       Manuel Fernandez-Navarro

      Manuel         Fernandez-Navarro,     a/k/a   ALa    Puerca,@    is   an   unindicted

co-conspirator who acted as a narcotics broker who received and distributed

multi-ton quantities of cocaine and heroin from multiple cartels, including the

Sinaloa Cartel and the Beltran-Leyva Organization.               Fernandez-Navarro was

indicted in the Northern District of Illinois in a separate, but related case, United

States v. Arturo Beltran-Leyva, et al, 09 CR 672.            Fernandez-Navarro and the

Flores brothers often invested in the same loads of cocaine with both the Sinaloa

Cartel and the Beltran-Leyva Organization.          In so doing, the Flores brothers and

Fernandez-Navarro pooled their money and resources together to purchase larger

volumes of cocaine.      Similar to transactions in which the Flores brothers received

their own shipments from the Sinaloa Cartel and Beltran-Leyva Organization,

where the Flores brothers and Fernandez-Navarro worked together narcotics were

received on credit and then the Flores brothers and Fernandez-Navarro worked

together to repay the load.       Fernandez-Navarro directly negotiated the receipt of

narcotics with several members of the Sinaloa Cartel, including Joaquin

Guzman-Loera.

      In or about November 2008, Fernandez-Navarro and the Flores brothers

agreed to purchase approximately 1.04 tons of cocaine from Arturo Beltran-Leyva

and the Beltran-Leyva Organization. 9 On or about November 3, 2008, November


      9 Pedro   Flores and Margarito Flores provided information to U.S. law enforcement that

                                                     47
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 50 of 62 PageID #:1610




13, 2008, and November 17, 2008, Pedro Flores and Margarito Flores consensually

recorded a series of telephone conversations with Fernandez-Navarro and a member

of the Beltran-Leyva Organization to arrange for the cocaine transaction.                     During

these recordings, the Flores brothers and Fernandez-Navarro also discussed

transactions they had done with the Sinaloa Cartel, including the extent of their

running debt and the price that they paid per kilo of cocaine.                       In a recorded

conversation between Pedro Flores and Fernandez-Navarro, Pedro Flores informed

Fernandez-Navarro of Margarito Flores= October 2008 mountaintop meeting with

Guzman-Loera, Zambada-Garcia, Zambada-Niebla, German Olivares, and others.

Pedro explained that it is difficult to deal with Zambada lieutenant German Olivares.

Specifically, Flores stated that Olivares had placed an unrealistic ban on the Flores

brothers using $1, $5, and $10 bills to pay their debt to the Sinaloa Cartel. Pedro

Flores explained that if the Cartel wanted to receive payment quickly in the United

States, the only option was for the Flores brothers to make payment with the money

that they received from their own customers, which included small bills. Flores

informed Fernandez-Navarro that Zambada-Niebla had instigated the situation by

telling Olivares that the Flores brothers had been making fun of Olivares behind his

back. Fernandez-Navarro then advised Pedro that he should bypass Olivares and


allowed for this shipment of cocaine to be seized in the Los Angeles, California area. Specifically, on
or about November 15, 2008, law enforcement seized approximately 600 kilograms of cocaine; on or
about November 21 , 2008, law enforcement seized approximately 290 kilograms of cocaine; and on or
about November 30, 2008, law enforcement seized approximately 154 kilograms of cocaine, law
enforcement also seized approximately $407,547 in the same residence from which the approximately
154 kilograms of cocaine were recovered.


                                                  48
  Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 51 of 62 PageID #:1611




take any problems straight to Athe little boy or the father [Zambada-Niebla or

Zambada-Garcia].@ Flores responded that they cannot because the Flores brothers

have been informed that Olivares speaks for Zambada-Garcia and therefore the

Flores brothers cannot go over his head.

                 8.   Testimony and Recordings Related to a Plot to Obtain
                      Weapons to Attack a U.S. or Mexican Government or
                      Media Building

       On the last day of the October 2008 mountaintop meetings attended by

Margarito Flores, Flores was informed that Guzman-Loera had arrived and wished

to meet.   A short while later, Flores participated in a meeting that also included

Guzman-Loera, Ismael Zambada-Garcia, Zambada-Niebla, and others.                   During that

meeting, Guzman-Loera and Ismael Zambada-Garcia discussed the recent arrest of

Zambada-Garcia=s brother, Jesus Zambada-Garcia, a/k/a ARey Zambada,@ by

Mexican authorities. 10      According to Margarito Flores, Ismael Zambada-Garcia

stated, in words or in substance, AThis government is letting the gringos [American

law enforcement] do whatever they want.              All we need is for them to try and

extradite him.@




       10Jesus Zambada-Garcia has been charged in a federal narcotics trafficking case pending in
the Eastern District of New York.


                                               49
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 52 of 62 PageID #:1612




         Guzman-Loera responded, with words to the effect of Ait=s too early for that,

it=s going to take a long time.   They are fucking us everywhere.    What are we going

to do?@    Ismael Zambada-Garcia responded, AIt will be good to send the gringos a

message.      Whatever we do, we have to do it in someone else=s territory, in the smoke

[Mexico City, which at the time was primarily under the control of the Beltran-Leyva

Organization].@     Guzman-Loera responded, in words or in substance, AYeah, it

would be good to do it in the smoke.     At least we=ll get something good out of it and

Arturo [Beltran-Leyva] will get the heat. Let it be a government building, it doesn=t

matter whose.      An embassy or a consulate, a media outlet or television station

[attack a Mexican or U.S. government or media building in Mexico City] .@

         At that point in the conversation, Zambada-Niebla turned to Flores and said

words to the effect of, ATwin, you know guys coming back from the war.             Find

somebody who can give you big powerful weapons, American shit.          We don=t want

Middle Eastern or Asian guns, we want big U.S. guns, or RPGs [rocket propelled

grenades].@     Zambada-Niebla made mention of a particular model of weapon, to

which Flores responded that he did not think the weapon named was American.

Zambada-Niebla responded in words or in substance, AYou know what I=m talking

about.    We don=t need one, we need a lot of them, 20, 30, a lot of them.@ Flores

responded, AI=ll see what I can do.@     Guzman-Loera then said to Flores, AMake it

your job;@ and Zambada-Garcia said, ASee what you can do.@




                                            50
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 53 of 62 PageID #:1613




      As    Flores   was   preparing    to    leave    the   mountaintop   compound,

Zambada-Garcia said in words or substance, AMake sure everything we talked about

gets done, the rockets, Felipe, and stop sending those bills to Olivares [stop sending

small bills as payment to Zambada-Garcia=s lieutenant German Olivares].@

      After this mountaintop meeting, Flores called a DEA agent and informed him

of this plot to obtain military-grade weapons.    Flores asked the agent to provide

Flores with black market prices for rocket and grenade launchers so that Flores

could appear knowledgeable about the topic if asked again by Guzman-Loera,

Zambada-Garcia, Zambada-Niebla, or others.            Flores had such a conversation

during the same November 29, 2008, recorded phone conversation with

Zambada-Niebla described above.         After discussing the 13-kilogram heroin

transaction, Flores and Zambada-Garcia discussed Zambada-Niebla=s request for

weapons from American soldiers returning home from war. During the recorded

conversation, Zambada-Niebla spoke on behalf of his father, Zambada-Garcia, and

told Flores that the Sinaloa Cartel would agree to purchase 20 to 30 weapons from a

U.S. soldier who was leaving the service. The conversation was as follows:

      MF:    Hey, do you remember what we talked about? About those toys
             [rocket/grenade launchers].

      VZN: Yes.

      MF:    It=s fine. I have somebody that just got out of the service [U.S.
             military] and he said he could hook me up [provide weapons], but
             they=re going to charge twice as much. Is that okay?

      VZN: That=s fine, just let me know.


                                         51
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 54 of 62 PageID #:1614




      MF:    Okay, they=re the kind that you told me about. He said, I can get
             twenty, thirty for sure [solider can provide 20 to 30 of the type of
             weapons requested by Zambada-Niebla].

      VZN: All right.

      MF:    They=re exactly the ones that you told me about he can make
             them for me. Because he=s coming over here to live anyway
             [soldier moving to Mexico, so willing to sell weapons]. So
             whatever he gets me will be double [cost will be twice as much].

      VZN: All right.

      MF:    Just tell this guy [Zambada-Garcia] as a favor to me, to accept
             delivery there [Sinaloa Cartel take receipt of the weapons in the
             U.S.].

      VZN: Yeah, I=ll tell him and he=ll accept them [Zambada-Garcia will
           accept delivery of the weapons in the U.S.].

      MF:    Okay, it=s all set then.

      VZN: All right.

      MF:    Okay, we=ll talk if anything.    Tell everyone I said hi.

      VZN: All right.

      MF:    All right.

In a post script to the conversation, Margarito Flores recorded, AThat was a call with

Vicente Zambada. It=s Mayo Zambada=s son.@

             9.     Testimony, Recordings and Text Messages Related to
                    November 2008 574-Kilogram Cocaine Transaction

      In or about November 2008, the Flores brothers agreed to purchase from the

Sinaloa Cartel a load of approximately 574 kilograms of cocaine.           The Flores

brothers= primary contact for this load was Juan Guzman-Rocha.             The Flores


                                             52
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 55 of 62 PageID #:1615




brothers consensually recorded a series of calls with Guzman-Rocha to arrange for

the transaction. Specifically, on behalf of the Sinaloa Cartel, Guzman-Rocha agreed

to provide the cocaine to the Flores brothers in the Los Angeles area. Once the

cocaine arrived in Los Angeles, Pedro Flores and Margarito Flores provided its

location and other information to U.S. law enforcement. Based on the information

provided by Pedro Flores and Margarito Flores, law enforcement seized 77 kilograms

of cocaine on November 14, 2008; 86 kilograms of cocaine on November 15, 2008; 89

kilograms of cocaine on November 18, 2008; and 322 kilograms of cocaine on

November 30, 2008.         The recordings between the Flores brothers and

Guzman-Rocha accurately reflect the quantities of these individual seizures.

      In addition to the consensually recorded conversations, the Flores brothers

also maintained a series of text messages exchanged with Guzman-Rocha pertinent

to the November 2008 cocaine deliveries. Consistent with their agreement with the

leadership of the Sinaloa Cartel, the Flores Brothers received this load of cocaine on

credit. Following the November 2008 cocaine deliveries, the Flores brothers were

ordered by Guzman-Rocha to pay $5,850,000 to be applied to the running debt they

owed to the Sinaloa Cartel. On or about November 29, 2008, Pedro Flores and

Guzman-Rocha exchanged text messages discussing the debt owed. Although no

money was actually sent, Pedro Flores wrote in a text message that $5,850,000 was

in transit to Guzman-Rocha and the Sinaloa Cartel in 212 individual packages

containing various denominations of U.S. currency. Guzman-Rocha responded with



                                         53
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 56 of 62 PageID #:1616




an order that the Flores brothers should stop sending $1 and $5 bills to the Sinaloa

Cartel, as such small-denomination currency was difficult to exchange in Mexico.

            10.    Testimony, Recordings and Seizures Related to October
                   and     November     Heroin     Transactions     with
                   Arevalo-Renteria

      In October and November 2008, the Flores brothers agreed to purchase two

separate shipments of heroin from the Sinaloa Cartel. The Flores brothers’ primary

contact for these two shipments was defendant Arevalo-Renteria.            In each

transaction, the Flores brothers provided information to U.S. law enforcement that

allowed the shipments of heroin to be seized. Specifically, based on information

from the Flores brothers, law enforcement seized approximately 15 kilograms of

heroin in Chicago on October 7, 2008, and approximately 12 kilograms of heroin in

Chicago on November 14, 2008.

      Pedro Flores also consensually recorded a series of conversations with

Arevalo-Renteria regarding these transactions. On or about October 21 and October

22, 2008, Flores recorded two conversations with Arevalo-Renteria regarding

payment for the 15-kilos of heroin received. Flores informed Arevalo-Renteria that

the Flores brothers had sent more money than they actually owed and asked

Arevalo-Renteria to save the extra money for them. On or about November 14,

2008, prior to the second transaction, Flores recorded a conversation during which

Arevalo-Renteria passed the phone number and nickname of the courier who would

deliver the 12 kilograms of heroin on November 14. Flores provided this name and

number to law enforcement.      A DEA task force officer acting in an undercover

                                        54
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 57 of 62 PageID #:1617




capacity then recorded several conversations with the courier using the number

provided by Arevalo-Renteria.       These conversations resulted in the courier

delivering approximately 12 kilograms of heroin to the undercover officer on or about

November 14, 2008.

V.    STATEMENTS IN FURTHERANCE OF THE CONSPIRACY

      As outlined above, the government has strong evidence that defendants

Vasquez Hernandez and Arevalo-Renteria participated in a conspiracy to possess

with intent to distribute, to distribute, and to import controlled substances.   The

above proffer of evidence also identifies the declarants (by name or by role) who

participated in the conspiracy with the defendants.

      The government seeks admission of conversations referenced above, in part,

under Fed. R. Evid. 801(d)(2)(E), as statements of coconspirators made during and in

furtherance of a conspiracy.   The statements made by other individuals who are not

coconspirators are admissible to provide context for the statements made by the

conspirators.   Moreover, the law is clear that a tape-recorded excerpt may be played

in its entirety, including the statements of non-conspirators, because their

statements are not offered for their truth but merely to place the coconspirator

statements in context and make them intelligible for the jury.      United States v.

Zizzo, 120 F.3d 1338, 1348 (7th Cir. 1997); United States v. Davis, 890 F.2d 1373,

1380 (7th Cir. 1989).

      The statements that the government proposes to offer as coconspirator

statements are too voluminous to be listed in their entirety in this proffer, but the

                                         55
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 58 of 62 PageID #:1618




nature of the statements are described by category below.         These illustrative

categories, however, are not intended to be all encompassing, but rather they explain

the premise for the admission of representative statements that fall into such

categories.   All of the statements that the government will offer were made during

and in furtherance of the defendants= conspiracies.

       A.     Statements Made To Execute The Conspiracies and Statements
              Regarding the Conspiracy's Activities

       The first category consists of oral statements made for the purpose of

executing the charged conspiracies, and informing others about the joint criminal

activity.   In general, these statements will include information from cooperating

witnesses dating back to the 1990's, as well as recorded and unrecorded

conversations, which reveal the day-to-day operations of the Sinaloa Cartel and its

joint criminal activity.   Conversations regarding the planning and execution of the

charged drug trafficking among the conspirators are clearly designed to further that

joint criminal activity.   For example, the defendants and their coconspirators made

statements to effectuate and maintain the operation of the Sinaloa Cartel, including

its organization, structure, roles and objectives.




                                           56
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 59 of 62 PageID #:1619




      B.     Statements Designed to Inform or Reassure the Listener and
             Statements Relating to the Progress and Accomplishments of
             the Conspiracy

      As noted above, the Seventh Circuit has routinely held that statements

designed to inform and reassure the listener about the participants in the conspiracy

and the progress of the conspiracy, are statements made in furtherance of the

conspiracy and thus admissible under Fed. R. Evid. 801(d)(2)(E). Given the nature

of this joint criminal activity charged in this case in terms of time and number of

participants, the need to inform fellow conspirators of past, present, and future

accomplishments of the conspirators plays a crucial role in the operation of the

ongoing criminal activity. Among other things, the government will introduce the

conversations discussing the conspirators= past, present, and future relationships

with one another, which demonstrate the nature of the relationship among the

conspirators. These conversations will include matters relating to the charged drug

trafficking B from conversations about the supply of narcotics from South and

Central America to Mexico; to conversations about the storage, safekeeping, and

transport of narcotics in Mexico; to conversations about the import of narcotics to the

United States and the export of United States Currency from the United States.

      C.     Statements to Recruit and Encourage Coconspirators

      The defendants and their coconspirators recruited and encouraged each other

and others to participate in their criminal endeavors.        Such statements were

designed to enlist and retain people to participate in the conspirators= criminal

endeavors, and thus they were in furtherance of the defendants= conspiracies. Thus,

                                          57
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 60 of 62 PageID #:1620




for example, conversations will include matters relating to the negotiation of the

purchase and sale of narcotics with others in South America, Central America, and

the United States.

      D.    Statements     to   Conceal      the   Criminal   Objectives   of   the

Conspiracies

      During the charged conspiracies, the defendants and their coconspirators also

discussed various methods and actions designed to conceal and protect their criminal

activities from others, including informants, rival cartels, and law enforcement.

Such statements were in furtherance of the joint criminal conduct because they are

designed to afford the conspirators an opportunity to continue in the activities and

escape the negative consequences naturally flowing from it.




                                        58
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 61 of 62 PageID #:1621




                                 CONCLUSION

       WHEREFORE, based on the foregoing summary of the anticipated evidence to

be offered by the government at trial, the government respectfully requests that the

Court issue a preliminary ruling that co-conspirator statements may be introduced

at the trial of this matter.

Dated: December 19, 2013


                                      Respectfully submitted,

                                      ZACHARY T. FARDON
                                      United States Attorney


                                By:   s/Thomas D. Shakeshaft
                                      THOMAS D. SHAKESHAFT
                                      ANDREW C. PORTER
                                      MICHAEL FERRARA
                                      MARC KRICKBAUM
                                      Assistant United States Attorneys
                                      219 S. Dearborn Street, 5th Floor
                                      Chicago, IL 60604
                                      312-353-5300




                                        59
 Case: 1:09-cr-00383 Document #: 264 Filed: 12/19/13 Page 62 of 62 PageID #:1622




                        CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorney hereby certifies that the

following document:

     GOVERNMENT=S EVIDENTIARY PROFFER SUPPORTING THE
        ADMISSIBILITY OF CO-CONSPIRATOR STATEMENTS

was served pursuant to the district court=s ECF system as to ECF filers on

DECEMBER 19, 2013.




                              By:    s/Thomas D. Shakeshaft
                                     THOMAS D. SHAKESHAFT
                                     ANDREW C. PORTER
                                     MICHAEL FERRARA
                                     MARC KRICKBAUM
                                     Assistant United States Attorneys
                                     219 S. Dearborn Street, 5th Floor
                                     Chicago, IL 60604
                                     312-353-5300
